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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION

LAURIE CLAIR-UBBEN

                 Plaintiff,
                                                                        No. 4:22-cv-193
vs.
                                                           NOTICE OF WITHDRAWAL OF
HIGBEE WEST MAIN, LP d/b/a DILLARD’S,
                                                           ATTORNEY JEAN MAUSS
INC., d/b/a DILLARD’S DEPARTMENT
STORE #340

                 Defendant.

        COMES NOW the undersigned attorney, Jean Mauss, and hereby withdraws as counsel for

Plaintiff. Kimberley K. Baer is counsel of record in this case and will continue to represent the Plaintiff.

The undersigned attorney’s withdrawal will have no material adverse effect on the Plaintiff’s interests.

                                                  Respectfully submitted,

                                                 /s/ Jean Mauss
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                                                 Jean Mauss            AT0005006
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